





















Opinion issued April 19, 2012.



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00955-CV

———————————

MICHEL PAPPILLION AND STACEY CARNEW, Appellants

V.

kimberly
levi, Appellee



&nbsp;



&nbsp;

On
Appeal from County Civil Court at Law No. 3

Harris
County, Texas



Trial
Court Cause No. 949676

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellants, Michel Pappillion and Stacey Carnew, have
neither established indigence nor paid all the required fees.&nbsp; See Tex.
R. App. P. 5 (requiring payment of fees in civil cases unless indigent),
20.1 (listing requirements for establishing indigence); see also Tex. Gov’t Code Ann. § 51.207 (Vernon
Supp. 2011), §&nbsp;51.941(a) (Vernon 2005), § 101.041 (Vernon Supp. 2011)
(listing fees in court of
appeals); Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict
Litigation, Misc. Docket No. 07-9138 (Tex. Aug. 28, 2007), reprinted in Tex. R. App. P.
app. A § B(1) (listing fees in court of appeals).&nbsp; After being notified that this appeal was
subject to dismissal, appellants did not respond.&nbsp; See Tex.
R. App. P. 5 (allowing enforcement of rule); 42.3 (allowing involuntary
dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss the appeal for nonpayment
of all required fees.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss any pending motions as
moot.

PER CURIAM

Panel
consists of Justices Keyes, Bland, and Sharp.

&nbsp;





